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                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                      Chapter 13
         DAVID A JOHNS
                                                            Bankruptcy No. 24-14138-PMM

                                Debtor

         TRUSTEE’S MOTION TO DISMISS PURSUANT TO 11 U.S.C. SECTION 1307

To the Honorable Judges of the United States Bankruptcy Court for the Eastern District of
Pennsylvania:

1.     Your Movant is Kenneth E. West, Esq. the duly qualified and acting Chapter 13 Trustee in
the above-captioned case.

2.       The within case was commenced by the filing of a Chapter 13 petition on 11/19/2024.

3.       This Motion to Dismiss has been filed for the following reason(s):

         •   Debtor(s) has/have failed to comply with 11 U.S.C. Section 521(a)(1)(B)(iv) by not
             filing copies of all payment advices or other evidence of payment received within 60
             days before the filing of the petition by debtor(s) from any employer of debtor(s).

         •   Debtor(s) has/have failed to provide, not later than 7 days before the date first set for
             the first meeting of creditors, a copy of the Federal income tax return required by 11
             U.S.C. Section 521(e)(2).

        WHEREFORE, Kenneth E. West, Esq., Standing Chapter 13 Trustee, requests that the
Court, after a hearing, enter an Order dismissing this case.

Date: 02/03/2025                                    Respectfully submitted,

                                                    /s/ Kenneth E. West, Esq.
                                                    Kenneth E. West, Esq.
                                                    Standing Chapter 13 Trusteee
                                                    190 N. Independence Mall West
                                                    Suite 701
                                                    Philadelphia, PA 19106
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